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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                         :               S3 17Cr0512-05
 UNITED STATES OF AMERICA,               :                    (DLC)
                                         :
                -v-                      :                     ORDER
                                         :
 JOEL TAPIA,                             :
                           Defendant.    :
                                         :
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DENISE COTE, District Judge:

     On September 26, 2020, the Government submitted a letter to

the Hon. Kimba Wood requesting that a Curcio hearing be

scheduled.

     On October 21, the defendant’s case was transferred to this

Court solely for the purposes of conducting the Curcio hearing.

Following the hearing, it will be returned to Judge Wood.                 It is

hereby

     ORDERED that a Curcio hearing is scheduled for November 6,

2020 at 2 p.m. in Courtroom 18B, 500 Pearl Street.

     IT IS FURTHER ORDERED that in light of the ongoing COVID-19

pandemic, all individuals seeking entry to 500 Pearl Street must

complete a questionnaire and have their temperature taken before

being allowed entry into the courthouse.           To gain entry to 500

Pearl Street, follow the instructions provided here:

             https://nysd.uscourts.gov/sites/default/files/2020-

             07/SDNY%20Screening%20Instructions.pdf
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     IT IS FURTHER ORDERED that all individuals must practice

social distancing at all times in the courthouse.            Individuals

also must wear face masks at all times in the courthouse unless

the Court authorizes their removal.

     IT IS FURTHER ORDERED that by October 28, 2020, defense

counsel must advise the Court of how many spectators will attend

the proceeding.      The parties must advise the Court by the same

date how many individuals will be seated at counsel’s tables.

Special accommodations may need to be made if more than ten

spectators are expected to attend, or more than three

individuals are expected to be seated at each counsel’s table.

     IT IS FURTHER ORDERED that members of the press and family

members who are not able to attend the in-court proceeding may

listen to the proceeding through a telephone link by calling

888-363-4749 and using access code 4324948.



Dated:       New York, New York
             October 21, 2020


                                     ____________________________
                                              DENISE COTE
                                     United States District Judge




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